
		
				RE REINSTATEMENT OF CREDENTIAL OF REGISTERED COURTROOM INTERPRETER2023 OK 31Decided: 04/03/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 31, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Reinstatement of Credential of Registered Courtroom Interpreter




ORDER


The Oklahoma Board of Examiners of Certified Courtroom Interpreters recommended to the Supreme Court of Oklahoma that the credential of the following interpreter:

Gisele Jones

be reinstated, as all applicable fees have been paid and the interpreter has complied with the continuing education requirements for 2022 and annual certificate renewal requirements for 2023.

IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 23, App. II, Rules 18 and 20, that the credential of the named interpreter be reinstated from the suspension earlier imposed by this Court, effective March 21, 2023.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 3RD day of APRIL, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






